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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND

In Re:                                        *

KEMPES JEAN                                   *          Case No. 20-10883-LSS
LORI LEE JEAN
     Debtor                                   *          Chapter 7

  LINE SUPPLYING FURTHER EXHIBIT RE; MOTION TO RESOLVE RETAINER
  AGREEMENT MATTERS AND ACCOUNTING RELATIVE TO PRIOR COUNSEL

               KEMPES JEAN and LORI LEE JEAN (the “Debtors”), by and through John D. Burns,

Esquire (the “Firm”), hereby file this Line Supplying Further Exhibit Re; Motion to Resolve Retainer

Agreement Matters and Accounting Relative to Prior Counsel (the “Motion”), and state as follows:

               An email with an unspecified invoice merely stating $5,000.00 issued on November

24, 2020 (and received by email by Debtors November 23, 2021), for hourly services was received by

the Debtors in supplementation of Exhibit 5 that was filed yesterday. A copy of the further support

document is annexed hereto and added to Exhibit 5 by reference.

               Debtors’ counsel also corrects a typographical error under Rule 60(a) hereby at ¶ 23 of

the Motion whereupon the total sum paid by Mr. Jean was $6,300.00 from the bank account and

$2,000.00 in cash, although Mr. Jean believes more cash may have been paid in intermittent

installments and is searching his records.

                                      Respectfully Submitted,
                                      /s/ John D. Burns
                                      John D. Burns, Esquire (#22777)
                                      The Burns LawFirm, LLC
                                      6303 Ivy Lane; Suite 102
                                      Greenbelt, Maryland 20770
                                      (301) 441-8780
                                      info@burnsbankruptcyfirm.com
                                      Counsel for the Debtors


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                                CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on the 24rd day of June, 2021, a copy of the foregoing

Line and Exhibit was served, via e-filing or by mail upon registered recipients upon:

ECF:
Office of the United States Trustee
6305 Ivy Lane; STE 600
Greenbelt, MD 20770

Any ECF Registered Recipients

Roger Schlossberg, Esquire
Counsel for the Chapter 7 Trustee
18421 Henson Boulevard
Suite 201
Hagerstown, MD 21742

ECF and First Class Mail
Sari Kurland, Esquire
211 Jersey Lane
Rockville, MD 20850

                                                       -----------/s/ John D. Burns-----
                                                       __________________________
                                                       John D. Burns




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